  Case 21-30037       Doc 96     Filed 02/01/21 Entered 02/01/21 11:29:36               Desc Main
                                   Document     Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MINNESOTA


In re:

Tea Olive I, LLC d/b/a Stock+Field,                     Case No.: 21-30037
                                                        Chapter 11 Case
               Debtor.



              ORDER APPROVING JOINT APPLICATION BY DEBTOR TO
               EMPLOY CLAIMS, NOTICING, AND BALLOTING AGENT
                     (DONLIN, RECANO & COMPANY, INC.)

         This matter is before the court on the Application to Employ Claims, Noticing, and

 Balloting Agent (Donlin, Recano & Company, Inc.) (the “Application”) filed by the above-

 captioned debtor (the “Debtor”). It appears necessary for the Debtor to employ a claims,

 noticing, and balloting agent. It appears that the professional selected by the Debtor to fill this

 role does not hold or represent an interest adverse to the estate, and that it is disinterested

 within the meaning of 11 U.S.C. § 327(a).

         IT IS ORDERED:

         1.     The Application is granted.

         2.     The Debtor is hereby authorized to employ and retain Donlin, Recano &

 Company, Inc. (“Donlin Recano”) as is claims, noticing, and balloting agent, all as

 contemplated by the Application and on the terms provided in the Engagement Agreement

 attached as Exhibit A to the Application.

         3.     As provided in Local Rule 2014-1, this order approving Donlin Recano’s

 employment and retention is effective as of the Debtor’s bankruptcy filing date of January 10,

 2021, which is the date the Application was filed.

         4.     Donlin Recano is authorized to render the following claims, noticing, and

                                                                 NOTICE OF ELECTRONIC ENTRY AND
                                                                 FILING ORDER OR JUDGMENT
                                                                 Filed and Docket Entry made on 02/01/2021
                                                                 Lori Vosejpka, Clerk, By BLM, Deputy Clerk
Case 21-30037         Doc 96   Filed 02/01/21 Entered 02/01/21 11:29:36             Desc Main
                                 Document     Page 2 of 3



balloting services:

               (a)    For all notices, motions, and other pleadings or documents filed by the
                      debtor, (i) conduct service as appropriate and (ii) prepare and file or
                      cause to be filed an affidavit or certificate of service within seven
                      business days of service;

               (b)    Prepare and maintain a creditor matrix and master service list;

               (c)    Analyze claims and process claims-related data;

               (d)    Monitor the Court’s docket for all notices of appearance, address
                      changes, and claims-related pleadings and orders filed;

               (e)    Maintain a case website and call center (and email inquiry service) for
                      the benefit of all parties in interest;

               (f)    Assist in the dissemination of information to the public and respond to
                      requests for administrative information regarding the case;

               (g)    Provide assistance with data processing and administrative functions,
                      including (i) preparation and maintenance of the debtor’ schedules of
                      assets and liabilities and statement of financial affairs and (ii) the
                      analysis and reconciliation of claims;

               (h)    Provide such other claims analysis, noticing, and related administrative
                      services as may be requested by the debtor;

               (i)    Provide balloting and solicitation services in connection with the
                      solicitation process for any chapter 11 plan for which a disclosure
                      statement has been approved by the Court;

               (j)    Generate and provide claim reports and claim objection exhibits;

               (k)    Manage the preparation, compilation, and mailing of documents to
                      creditors and other parties in interest in connection with the solicitation
                      of a chapter 11 plan;

               (l)    Tabulate votes in connection with any plan filed by the debtor and
                      provide ballot reports to the debtor and its professionals;

               (m)    Generate a ballot certification and testify, if necessary, in support of the
                      same;

               (n)    Manage any distributions made pursuant to a confirmed plan;

               (o)    Manage the publication of legal notices, if any, as requested by the
                      debtor; and


                                                4
Case 21-30037        Doc 96     Filed 02/01/21 Entered 02/01/21 11:29:36             Desc Main
                                  Document     Page 3 of 3



               (p)    Provide such other balloting, solicitation, distribution and administrative
                      services as may be requested by the debtor.

       5.      Donlin Recano shall make all reasonable efforts to avoid any inappropriate

duplication of services provided by any of the Debtor’s other retained professionals in this

chapter 11 case.

       6.      Donlin Recano shall be compensated for its services and reimbursed for any

reasonable and necessary expenses and disbursements in accordance with the rates (as

adjusted from time to time) and disbursement policies as set forth in the Application and

Engagement Agreement, and in accordance with the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, and any other applicable order of this Court.

       7.      Donlin Recano is authorized to hold its prepetition retainer during this chapter

11 case as security for the payment of fees and expenses under the Engagement Agreement.

       8.      Donlin Recano is authorized to file fee applications to be heard on 30-day

intervals from the bankruptcy filing date.

       9.      The Debtor and Donlin Recano are authorized and empowered to take all

actions necessary to implement the relief granted in this order.

       10.     This Court retains exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation and/or interpretation of this Order.
                                                        /e/ William J. Fisher
Dated: February 1, 2021
                                                    William J. Fisher
                                                    United States Bankruptcy Judge




                                                4
